      Case 2:18-cv-00479-GMN-CWH Document 1 Filed 02/20/18 Page 1 of 23




                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

                                                         )
JOHN V. FERRIS and JOANN M. FERRIS,                      )
Individually and on Behalf of All Others                 ) Case No.
                                                         )
Similarly Situated,                                      )
                                                         )
                                       Plaintiffs,       ) CLASS ACTION COMPLAINT
                                                         )
     vs.                                                 )
                                                         ) JURY TRIAL DEMANDED
 WYNN RESORTS LIMITED, STEPHEN                           )
                                                         )
 A. WYNN, CRAIG SCOTT BILLINGS,                          )
 STEPHEN COOTEY, and MATTHEW O.                          )
 MADDOX,                                                 )
                                                         )
                                     Defendants          )
                                                         )

       Plaintiffs John V. Ferris and JoAnn M. Ferris (collectively, “Plaintiffs”), individually and

on behalf of all other persons similarly situated, by Plaintiffs’ undersigned attorneys, for

Plaintiffs’ complaint against Defendants, alleges the following based upon personal knowledge

as to Plaintiffs and Plaintiffs’ own acts, and information and belief as to all other matters, based

upon, inter alia, the investigation conducted by and through Plaintiffs’ attorneys, which

included, among other things, a review of the Defendants’ public documents, conference calls

and announcements made by Defendants, United States Securities and Exchange Commission

(“SEC”) filings, wire and press releases published by and regarding Wynn Resorts Limited

(“Wynn Resorts” or the “Company”), analysts’ reports and advisories about the Company, and

information readily obtainable on the Internet. Plaintiffs believe that substantial evidentiary

support will exist for the allegations set forth herein after a reasonable opportunity for discovery.




                                                     1
      Case 2:18-cv-00479-GMN-CWH Document 1 Filed 02/20/18 Page 2 of 23



                                  NATURE OF THE ACTION
        1.       This is a federal securities class action on behalf of a class consisting of all

persons other than Defendants who purchased or otherwise acquired Wynn Resorts’ securities

between February 28, 2014 and January 25, 2018, both dates inclusive (the “Class Period”),

seeking to recover damages caused by Defendants’ violations of the federal securities laws and

to pursue remedies under Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the

“Exchange Act”) and Rule 10b-5 promulgated thereunder, against the Company and certain of its

top officials.

        2.       Wynn Resorts owns and operates luxury hotels and destination casino resorts.

The Company owns and operates Wynn Las Vegas and Encore in Las Vegas, Nevada, and Wynn

Macau and Wynn Palace in Macau, China, and it is currently constructing a new $2.4 billion

property called Wynn Boston Harbor in Everett, Massachusetts.

        3.       Founded in 2002 by Stephen Wynn, the Company is based in Las Vegas,

Nevada, and its stock trades on the NASDAQ Global Market (“NASDAQ”) under the ticker

symbol “WYNN”.

        4.       Throughout the Class Period, Defendants made materially false and misleading

statements regarding the Company’s business, operational and compliance policies. Specifically,

Defendants made false and/or misleading statements and/or failed to disclose that: (i) the

Company’s founder and Chief Executive Officer (“CEO”), Stephen (Steve) A. Wynn had

engaged in a pattern of sexual misconduct with respect to Wynn Resorts employees, including

instances of sexual assault; (ii) discovery of the foregoing misconduct would subject the

Company to heightened regulatory scrutiny and jeopardize Wynn’s tenure at the Company; and

(iii) as a result of the foregoing, Wynn Resorts’ shares traded at artificially inflated prices during

the Class Period, and class members suffered significant losses and damages.

                                                  2
      Case 2:18-cv-00479-GMN-CWH Document 1 Filed 02/20/18 Page 3 of 23



       5.       On January 26, 2018, The Wall Street Journal published an article titled “Dozens

of People Recount Pattern of Sexual Misconduct by Las Vegas Mogul Steve Wynn,” revealing

detailed accounts that Wynn had coerced and pressured several Wynn Resorts employees to

perform sex acts. According to the Wall Street Journal, “dozens of people… who have worked

at Mr. Wynn’s casinos told of behavior that cumulatively would amount to a decades-long

pattern of sexual misconduct by Mr. Wynn.” It was further revealed that Wynn had paid a Wynn

Resorts employee $7.5 million after being accused of forcing the employee to have sex with him.

Following these revelations, the Massachusetts Gaming Commission announced that it would

open a regulatory review into the Company over the sexual misconduct allegations reported in

the Wall Street Journal article.

       6.       On this news, Wynn Resorts’ share price fell $20.31, or 10.12%, to close at

$180.29 on January 26, 2018.

       7.       On that same day, the Board of Directors of Wynn Resorts announced the

formation of a Special Committee of the Board comprised solely of independent directors to

investigate the allegations contained in the Wall Street Journal article.

       8.       On February 6, 2018, the Company issued a press release entitled “Wynn Resorts

CEO Steps Down,” announcing the immediate resignation of Wynn as the Company’s CEO and

Chairman of the Board of Directors.

       9.       On February 13, 2018, post-market, media outlets reported that two women had

filed new sexual misconduct reports concerning Wynn with the Las Vegas Metropolitan Police

Department, alleging that Wynn had sexually assaulted them in the 1970s. One woman reported

that Wynn assaulted her in Las Vegas and the other said she was assaulted in Chicago, the Las

Vegas Metropolitan Police Department said in a statement.



                                                 3
      Case 2:18-cv-00479-GMN-CWH Document 1 Filed 02/20/18 Page 4 of 23



        10.      On this news, Wynn Resorts’ share price closed at $164.16 on February 14,

2018, a decline of $36.44, or 18.16%, from the January 25, 2018 closing price.

        11.      As a result of Defendants’ wrongful acts and omissions, and the precipitous

decline in the market value of the Company’s securities, Plaintiffs and other Class members have

suffered significant losses and damages.

                                  JURISDICTION AND VENUE

        12.      The claims asserted herein arise under and pursuant to §§10(b) and 20(a) of the

Exchange Act (15 U.S.C. §§78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the

SEC (17 C.F.R. §240.10b-5).

        13.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §§ 1331 and Section 27 of the Exchange Act.

        14.      Venue is proper in this Judicial District pursuant to §27 of the Exchange Act (15

U.S.C. §78aa) and 28 U.S.C. §1391(b). Wynn Resorts’ common stock trades on the NASDAQ,

located within this Judicial District.

        15.      In connection with the acts, conduct and other wrongs alleged in this Complaint,

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

including but not limited to, the United States mail, interstate telephone communications and the

facilities of the national securities exchange.

                                             PARTIES

        16.      Plaintiffs, as set forth in the attached Certification, acquired Wynn Resorts

securities at artificially inflated prices during the Class Period and were damaged upon the

revelation of the alleged corrective disclosures.




                                                    4
      Case 2:18-cv-00479-GMN-CWH Document 1 Filed 02/20/18 Page 5 of 23



       17.      Defendant Wynn Resorts is headquartered in Nevada, with principal executive

offices located at 3131 Las Vegas Boulevard South, Las Vegas, Nevada 89109. Wynn Resorts’

securities trade on the NASDAQ under the ticker symbol “WYNN”.

       18.      Defendant Stephen (Steve) A. Wynn (“Wynn”) served as the Company’s CEO

and Chairman from June 2002 until his resignation on February 6, 2018.

       19.      Defendant Craig S. Bilings (“Bilings”) has served as the Company’s Chief

Financial Officer (“CFO”), Principal Accounting Officer and Treasurer since March 2017.

       20.      Defendant Stephen Cootey (“Cootey”) served as the Company’s CFO and Senior

Vice President from March 2014 to March 2017.

       21.      Defendant Matthew O. Maddox (“Maddox”) served as the Company’s CFO and

Principal Accounting Officer from March 2006 to May 2014, and has served as the Company’s

CEO since February 2018.

       22.      The Defendants referenced above in ¶¶ 18-21 are sometimes referred to herein as

the “Individual Defendants.”

       23.      The Individual Defendants possessed the power and authority to control the

contents of Wynn Resorts’ SEC filings, press releases, and other market communications. The

Individual Defendants were provided with copies of the Company’s SEC filings and press

releases alleged herein to be misleading prior to or shortly after their issuance and had the ability

and opportunity to prevent their issuance or to cause them to be corrected. Because of their

positions with the Company, and their access to material information available to them but not to

the public, the Individual Defendants knew that the adverse facts specified herein had not been

disclosed to and were being concealed from the public, and that the positive representations




                                                 5
      Case 2:18-cv-00479-GMN-CWH Document 1 Filed 02/20/18 Page 6 of 23



being made were then materially false and misleading. The Individual Defendants are liable for

the false statements and omissions pleaded herein.

                              SUBSTANTIVE ALLEGATIONS

                                         Background

        24.      Wynn Resorts Limited owns and operates luxury hotels and destination casino

resorts. The Company owns and operates Wynn Las Vegas and Encore in Las Vegas, Nevada,

and Wynn Macau and Wynn Palace in Macau, China, and it is currently constructing a new $2.4

billion property called Wynn Boston Harbor in Everett, Massachusetts.

         Materially False and Misleading Statements Issued During the Class Period

        25.      The Class Period begins on February 28, 2014, when Wynn Resorts filed an

annual report on Form 10-K with the SEC, announcing the Company’s financial and operating

results for the quarter and fiscal year ended December 31, 2013 (the “2013 10-K”). In the 2013

10-K, the Company stated in part:

                As part of the Company’s commitment to integrity, the Board of Directors
        has adopted a Code of Business Conduct and Ethics applicable to all directors,
        officers and employees of the Company and its subsidiaries. This Code is
        periodically reviewed by the Board of Directors. In the event we determine to
        amend or waive certain provisions of this code of ethics, we intend to disclose
        such amendments or waivers on our website at http://www.wynnresorts.com
        under the heading “Corporate Governance” within four business days following
        such amendment or waiver or as otherwise required by the NASDAQ listing
        standards.
        26.      Wynn Resorts’ Code of Business Conduct and Ethics (amended as of August 1,

2016) states, in part:

                All of us at Wynn Resorts are focused on our commitment to providing an
        elegant environment, high-quality amenities, a superior level of service and
        distinctive attractions for our customers. However, our ability to conduct our
        business and sustain the respect of the investment community and the people who
        regulate our industry rests first and foremost on our commitment to integrity.


                                               6
      Case 2:18-cv-00479-GMN-CWH Document 1 Filed 02/20/18 Page 7 of 23



                                                ***
               Our business depends on the reputation of all of us for integrity and
       principled business conduct. The purpose of this Code of Business Conduct and
       Ethics (the "Code") is to reinforce and enhance the commitment of Wynn Resorts,
       Limited (together with its affiliates, the "Company") to an ethical way of doing
       business. The Code applies to all employees, officers, directors, agents, and
       representatives of the Company and its affiliates ("Covered Persons" or "you").
       This Code also applies to certain independent contractors and consultants who
       work at the Company's facilities or on the Company's behalf, in which case those
       persons will be notified and provided a copy of this Code and will be deemed a
       Covered Person. The policies set forth here are the basis for the Company to
       continue a tradition of high ethical business standards. The Company has
       additional policies that supplement the policies in this Code.

                                                ***

               All reported violations of the Code will be taken seriously and promptly
       investigated. All reports will be treated confidentially to the extent reasonably
       possible. It is the Company's policy that no one will be subject to retaliation or
       adverse employment action because of a good faith report of suspected
       misconduct or for assisting in any investigation of suspected misconduct. It is
       imperative that reporting persons not conduct their own preliminary
       investigations. Investigations of alleged violations may involve complex legal
       issues, and acting on your own may compromise the integrity of an investigation
       and adversely affect both you and the Company. . . .

               The Company intends to use every reasonable effort to prevent the
       occurrence of conduct not in compliance with the Code and to halt any such
       conduct that may occur as soon as reasonably possible after its discovery.
       Subject to applicable law and agreements, Covered Persons who violate this Code
       and other Company policies and procedures may be subject to disciplinary action,
       up to and including discharge.

(Emphases added.)

       27.      The 2013 10-K contained signed certifications pursuant to the Sarbanes Oxley

Act of 2002 (“SOX”) by Defendants Wynn and Maddox, stating that the information contained

in the 2013 10-K “fairly present in all material respects the financial condition, results of

operations and cash flows of the registrant as of, and for, the periods presented in this report.”

       28.      On May 9, 2014, Wynn Resorts filed a quarterly report on Form 10-Q with the

SEC, announcing the Company’s financial and operating results for the quarter ended March 31,


                                                  7
      Case 2:18-cv-00479-GMN-CWH Document 1 Filed 02/20/18 Page 8 of 23



2014 (the “Q1 10-Q 2014”). The Q1 10-Q 2014 contained signed certifications pursuant to SOX

by Defendants Wynn and Maddox, stating that the information contained in the Q1 10-Q 2014

“fairly present in all material respects the financial condition, results of operations and cash

flows of the registrant as of, and for, the periods presented in this report.”

       29.      On August 8, 2014, Wynn Resorts filed a quarterly report on Form 10-Q with the

SEC, announcing the Company’s financial and operating results for the quarter ended June 30,

2014 (the “Q2 10-Q 2014”). The Q2 10-Q 2014 contained signed certifications pursuant to SOX

by Defendants Wynn and Cootey, stating that the information contained in the Q2 10-Q 2014

“fairly present in all material respects the financial condition, results of operations and cash

flows of the registrant as of, and for, the periods presented in this report.”

       30.      On November 7, 2014, Wynn Resorts filed a quarterly report on Form 10-Q with

the SEC, announcing the Company’s financial and operating results for the quarter ended

September 30, 2014 (the “Q3 10-Q 2014”). The Q3 10-Q 2014 contained signed certifications

pursuant to SOX by Defendants Wynn and Cootey, stating that the information contained in the

Q3 10-Q 2014 “fairly present in all material respects the financial condition, results of operations

and cash flows of the registrant as of, and for, the periods presented in this report.”

       31.      On March 2, 2015, Wynn Resorts filed an annual report on Form 10-K with the

SEC, announcing the Company’s financial and operating results for the quarter and fiscal year

ended December 31, 2014 (the “2014 10-K”). In the 2014 10-K, the Company stated in part:

               As part of the Company’s commitment to integrity, the Board of Directors
       has adopted a Code of Business Conduct and Ethics applicable to all directors,
       officers and employees of the Company and its subsidiaries. This Code is
       periodically reviewed by the Board of Directors. In the event we determine to
       amend or waive certain provisions of this code of ethics, we intend to disclose
       such amendments or waivers on our website at http://www.wynnresorts.com
       under the heading “Corporate Governance” within four business days following


                                                   8
      Case 2:18-cv-00479-GMN-CWH Document 1 Filed 02/20/18 Page 9 of 23



       such amendment or waiver or as otherwise required by the NASDAQ listing
       standards.
       32.      Upon information and belief, Wynn Resorts’ Code of Business Conduct and

Ethics contained the representations described supra at ¶ 26.

       33.      The 2014 10-K contained signed certifications pursuant to SOX by Defendants

Wynn and Cootey, stating that the information contained in the 2014 10-K “fairly present in all

material respects the financial condition, results of operations and cash flows of the registrant as

of, and for, the periods presented in this report.”

       34.      On May 8, 2015, Wynn Resorts filed a quarterly report on Form 10-Q with the

SEC, announcing the Company’s financial and operating results for the quarter ended March 31,

2015 (the “Q1 10-Q 2015”). The Q1 10-Q 2015 contained signed certifications pursuant to SOX

by Defendants Wynn and Cootey, stating that the information contained in the Q1 10-Q 2015

“fairly present in all material respects the financial condition, results of operations and cash

flows of the registrant as of, and for, the periods presented in this report.”

       35.      On August 7, 2015, Wynn Resorts filed a quarterly report on Form 10-Q with the

SEC, announcing the Company’s financial and operating results for the quarter ended June 30,

2015 (the “Q2 10-Q 2015”). The Q2 10-Q 2015 contained signed certifications pursuant to SOX

by Defendants Wynn and Cootey, stating that the information contained in the Q2 10-Q 2015

“fairly present in all material respects the financial condition, results of operations and cash

flows of the registrant as of, and for, the periods presented in this report.”

       36.      On November 6, 2015, Wynn Resorts filed a quarterly report on Form 10-Q with

the SEC, announcing the Company’s financial and operating results for the quarter ended

September 30, 2015 (the “Q3 10-Q 2015”). The Q3 10-Q 2015 contained signed certifications

pursuant to SOX by Defendants Wynn and Cootey, stating that the information contained in the


                                                      9
        Case 2:18-cv-00479-GMN-CWH Document 1 Filed 02/20/18 Page 10 of 23



Q3 10-Q 2015 “fairly present in all material respects the financial condition, results of operations

and cash flows of the registrant as of, and for, the periods presented in this report.”

         37.     On February 29, 2016, Wynn Resorts filed an annual report on Form 10-K with

the SEC, announcing the Company’s financial and operating results for the quarter and fiscal

year ended December 31, 2015 (the “2015 10-K”). In the 2015 10-K, the Company stated in

part:

                 As part of the Company's commitment to integrity, the Board of Directors
         has adopted a Code of Business Conduct and Ethics applicable to all directors,
         officers and employees of the Company and its subsidiaries. This Code is
         periodically reviewed by the Board of Directors. In the event we determine to
         amend or waive certain provisions of this code of ethics, we intend to disclose
         such amendments or waivers on our website at http://www.wynnresorts.com
         under the heading "Corporate Governance" within four business days following
         such amendment or waiver or as otherwise required by the NASDAQ listing
         standards.

         38.     Upon information and belief, Wynn Resorts’ Code of Business Conduct and

Ethics contained the representations described supra at ¶ 26.

         39.     The 2015 10-K contained signed certifications pursuant to SOX by Defendants

Wynn and Cootey, stating that the information contained in the 2015 10-K “fairly present in all

material respects the financial condition, results of operations and cash flows of the registrant as

of, and for, the periods presented in this report.”

         40.     On May 6, 2016, Wynn Resorts filed a quarterly report on Form 10-Q with the

SEC, announcing the Company’s financial and operating results for the quarter ended March 31,

2016 (the “Q1 10-Q 2016”). The Q1 10-Q 2016 contained signed certifications pursuant to SOX

by Defendants Wynn and Cootey, stating that the information contained in the Q1 10-Q 2016

“fairly present in all material respects the financial condition, results of operations and cash

flows of the registrant as of, and for, the periods presented in this report.”



                                                  10
     Case 2:18-cv-00479-GMN-CWH Document 1 Filed 02/20/18 Page 11 of 23



           41.     On August 9, 2016, Wynn Resorts filed a quarterly report on Form 10-Q with the

SEC, announcing the Company’s financial and operating results for the quarter ended June 30,

2016 (the “Q2 10-Q 2016”). The Q2 10-Q 2016 contained signed certifications pursuant to SOX

by Defendants Wynn and Cootey, stating that the information contained in the Q2 10-Q 2016

“fairly present in all material respects the financial condition, results of operations and cash

flows of the registrant as of, and for, the periods presented in this report.”

           42.     On November 4, 2016, Wynn Resorts filed a quarterly report on Form 10-Q with

the SEC, announcing the Company’s financial and operating results for the quarter ended

September 30, 2016 (the “Q3 10-Q 2016”). The Q3 10-Q 2016 contained signed certifications

pursuant to SOX by Defendants Wynn and Cootey, stating that the information contained in the

Q3 10-Q 2016 “fairly present in all material respects the financial condition, results of operations

and cash flows of the registrant as of, and for, the periods presented in this report.”

           43.     On February 24, 2017, when Wynn Resorts filed an annual report on Form 10-K

with the SEC, announcing the Company’s financial and operating results for the quarter and

fiscal year ended December 31, 2016 (the “2016 10-K”). In the 2016 10-K, the Company stated

in part:

                   As part of the Company's commitment to integrity, the Board of Directors
           has adopted a Code of Business Conduct and Ethics applicable to all directors,
           officers and employees of the Company and its subsidiaries. This Code is
           periodically reviewed by the Board of Directors. In the event we determine to
           amend or waive certain provisions of this code of ethics, we intend to disclose
           such amendments or waivers on our website at http://www.wynnresorts.com
           under the heading "Corporate Governance" within four business days following
           such amendment or waiver or as otherwise required by the NASDAQ listing
           standards.

           44.     Upon information and belief, Wynn Resorts’ Code of Business Conduct and

Ethics contained the representations described supra at ¶ 26.



                                                  11
     Case 2:18-cv-00479-GMN-CWH Document 1 Filed 02/20/18 Page 12 of 23



        45.      The 2016 10-K contained signed certifications pursuant to the SOX by

Defendants Wynn and Cootey, stating that the information contained in the 2016 10-K “fairly

present in all material respects the financial condition, results of operations and cash flows of the

registrant as of, and for, the periods presented in this report.”

        46.      On May 4, 2017, Wynn Resorts filed a quarterly report on Form 10-Q with the

SEC, announcing the Company’s financial and operating results for the quarter ended March 31,

2017 (the “Q1 10-Q 2017”). The Q1 10-Q 2017 contained signed certifications pursuant to SOX

by Defendants Wynn and Billings, stating that the information contained in the Q1 10-Q 2017

“fairly present in all material respects the financial condition, results of operations and cash

flows of the registrant as of, and for, the periods presented in this report.”

        47.      On August 4, 2017, Wynn Resorts filed a quarterly report on Form 10-Q with the

SEC, announcing the Company’s financial and operating results for the quarter ended June 30,

2017 (the “Q2 10-Q 2017”). The Q2 10-Q 2017 contained signed certifications pursuant to SOX

by Defendants Wynn and Billings, stating that the information contained in the Q2 10-Q 2017

“fairly present in all material respects the financial condition, results of operations and cash

flows of the registrant as of, and for, the periods presented in this report.”

        48.      On November 8, 2017, Wynn Resorts filed a quarterly report on Form 10-Q with

the SEC, announcing the Company’s financial and operating results for the quarter ended

September 30, 2017 (the “Q3 10-Q 2017”). The Q3 10-Q 2017 contained signed certifications

pursuant to SOX by Defendants Wynn and Billings, stating that the information contained in the

Q3 10-Q 2017 “fairly present in all material respects the financial condition, results of operations

and cash flows of the registrant as of, and for, the periods presented in this report.”




                                                  12
     Case 2:18-cv-00479-GMN-CWH Document 1 Filed 02/20/18 Page 13 of 23



       49.      The statements referenced in ¶¶ 25-48 were materially false and misleading

because Defendants made false and/or misleading statements, as well as failed to disclose

material adverse facts about the Company’s business, operational and compliance policies.

Specifically, Defendants made false and/or misleading statements and/or failed to disclose that:

(i) the Company’s founder and CEO, Stephen A. Wynn had engaged in a pattern of sexual

misconduct with respect to Wynn Resorts employees, including instances of sexual assault; (ii)

discovery of the foregoing misconduct would subject the Company to heightened regulatory

scrutiny and jeopardize Wynn’s tenure at the Company; and (iii) as a result of the foregoing,

Wynn Resorts’ shares traded at artificially inflated prices during the Class Period, and class

members suffered significant losses and damages.

                                  The Truth Begins to Emerge

       50.      On January 26, 2018, 26, 2018, The Wall Street Journal published an article

titled “Dozens of People Recount Pattern of Sexual Misconduct by Las Vegas Mogul Steve

Wynn,” revealing detailed accounts that Wynn had coerced and pressured several Wynn Resorts

employees to perform sex acts. According to the Wall Street Journal, “dozens of people… who

have worked at Mr. Wynn’s casinos told of behavior that cumulatively would amount to a

decades-long pattern of sexual misconduct by Mr. Wynn.” It was further revealed that Wynn

had paid a Wynn Resorts employee $7.5 million after being accused of forcing the employee to

have sex with him. The article stated, in relevant part:

       “Everybody was petrified,” said Jorgen Nielsen, a former artistic director at the
       salon. Mr. Nielsen said he and others repeatedly told high-level company
       executives Mr. Wynn’s sexual advances were causing a problem, but “nobody
       was there to help us.”
                                                ***

       Dennis Gomes, who was an executive at the Golden Nugget in Las Vegas when
       Mr. Wynn was running that casino decades ago, said in a deposition in an early-

                                                13
     Case 2:18-cv-00479-GMN-CWH Document 1 Filed 02/20/18 Page 14 of 23



       1990s lawsuit that Mr. Gomes “routinely received complaints from various
       department heads regarding Wynn’s chronic sexual harassment of female
       employees,” according to a court filing that summarized his testimony.
       In the suit over Mr. Gomes’s departure to work for a Trump casino, Mr. Gomes
       described what he called a “disgraceful pattern of personal and professional
       conduct” that he said included Mr. Wynn’s directing him to get the home phone
       numbers of casino cocktail waitresses.
       51.     Following these revelations, the Massachusetts Gaming Commission announced

that it would open a regulatory review into the Company over the sexual misconduct allegations

reported in the Wall Street Journal article.

       52.      On this news, Wynn Resorts’ share price fell $20.31, or 10.12%, to close at

$180.29 on January 26, 2018.

       53.      On that same day, the Board of Directors of Wynn Resorts announced the

formation of a Special Committee of the Board comprised solely of independent directors to

investigate the allegations contained in the Wall Street Journal article.

       54.      On February 6, 2018, the Company issued a press release entitled “Wynn Resorts

CEO Steps Down,” announcing the immediate resignation of Wynn as the Company’s CEO and

Chairman of the Board of Directors.

       55.      On February 13, 2018, post-market, media outlets reported that two women had

filed new sexual misconduct reports concerning Wynn with the Las Vegas Metropolitan Police

Department, alleging that Wynn had sexually assaulted them in the 1970s. One woman reported

that Wynn assaulted her in Las Vegas and the other said she was assaulted in Chicago, the Las

Vegas Metropolitan Police Department said in a statement.

       56.      On this news, Wynn Resorts’ share price closed at $164.16 on February 14,

2018, a drop of $36.44, or 18.16% from the January 25, 2018 closing price.




                                                 14
     Case 2:18-cv-00479-GMN-CWH Document 1 Filed 02/20/18 Page 15 of 23



       57.      As a result of Defendants’ wrongful acts and omissions, and the precipitous

decline in the market value of the Company’s securities, Plaintiffs and other Class members have

suffered significant losses and damages.

                      PLAINTIFFS’ CLASS ACTION ALLEGATIONS

       58.      Plaintiffs bring this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or

otherwise acquired Wynn Resorts securities during the Class Period (the “Class”); and were

damaged upon the revelation of the alleged corrective disclosures. Excluded from the Class are

Defendants herein, the officers and directors of the Company, at all relevant times, members of

their immediate families and their legal representatives, heirs, successors or assigns and any

entity in which Defendants have or had a controlling interest.

       59.      The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Wynn Resorts securities were actively traded on the

NASDAQ. While the exact number of Class members is unknown to Plaintiffs at this time and

can be ascertained only through appropriate discovery, Plaintiffs believe that there are hundreds

or thousands of members in the proposed Class. Record owners and other members of the Class

may be identified from records maintained by Wynn Resorts or its transfer agent and may be

notified of the pendency of this action by mail, using the form of notice similar to that

customarily used in securities class actions.

       60.      Plaintiffs’ claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.




                                                15
     Case 2:18-cv-00479-GMN-CWH Document 1 Filed 02/20/18 Page 16 of 23



        61.       Plaintiffs will fairly and adequately protect the interests of the members of the

Class and have retained counsel competent and experienced in class and securities litigation.

Plaintiffs have no interests antagonistic to or in conflict with those of the Class.

        62.       Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

              •   whether the federal securities laws were violated by Defendants’ acts as alleged
                  herein;

              •   whether statements made by Defendants to the investing public during the Class
                  Period misrepresented material facts about the business, operations and
                  management of Wynn Resorts;

              •   whether the Individual Defendants caused Wynn Resorts to issue false and
                  misleading financial statements during the Class Period;

              •   whether Defendants acted knowingly or recklessly in issuing false and misleading
                  financial statements;

              •   whether the prices of Wynn Resorts securities during the Class Period were
                  artificially inflated because of the Defendants’ conduct complained of herein; and

              •   whether the members of the Class have sustained damages and, if so, what is the
                  proper measure of damages.

        63.       A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation make it impossible for members of the Class to individually

redress the wrongs done to them. There will be no difficulty in the management of this action as

a class action.

        64.       Plaintiffs will rely, in part, upon the presumption of reliance established by the

fraud-on-the-market doctrine in that:

                                                  16
     Case 2:18-cv-00479-GMN-CWH Document 1 Filed 02/20/18 Page 17 of 23



              •   Defendants made public misrepresentations or failed to disclose material facts
                  during the Class Period;

              •   the omissions and misrepresentations were material;

              •   Wynn Resorts securities are traded in an efficient market;

              •   the Company’s shares were liquid and traded with moderate to heavy volume
                  during the Class Period;

              •   the Company traded on the NASDAQ and was covered by multiple analysts;

              •   the misrepresentations and omissions alleged would tend to induce a reasonable
                  investor to misjudge the value of the Company’s securities; and

              •   Plaintiffs and members of the Class purchased, acquired and/or sold Wynn
                  Resorts securities between the time the Defendants failed to disclose or
                  misrepresented material facts and the time the true facts were disclosed, without
                  knowledge of the omitted or misrepresented facts.

        65.       Based upon the foregoing, Plaintiffs and the members of the Class are entitled to

a presumption of reliance upon the integrity of the market.

        66.       Alternatively, Plaintiffs and the members of the Class are entitled to the

presumption of reliance established by the Supreme Court in Affiliated Ute Citizens of the State

of Utah v. United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material

information in their Class Period statements in violation of a duty to disclose such information,

as detailed above.

                                              COUNT I
 (Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated Thereunder
                                    Against All Defendants)

        67.       Plaintiffs repeat and reallege each and every allegation contained above as if

fully set forth herein.

        68.       This Count is asserted against Defendants and is based upon Section 10(b) of the

Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.



                                                  17
     Case 2:18-cv-00479-GMN-CWH Document 1 Filed 02/20/18 Page 18 of 23



       69.      During the Class Period, Defendants engaged in a plan, scheme, conspiracy and

course of conduct, pursuant to which they knowingly or recklessly engaged in acts, transactions,

practices and courses of business which operated as a fraud and deceit upon Plaintiffs and the

other members of the Class; made various untrue statements of material facts and omitted to state

material facts necessary in order to make the statements made, in light of the circumstances

under which they were made, not misleading; and employed devices, schemes and artifices to

defraud in connection with the purchase and sale of securities. Such scheme was intended to,

and, throughout the Class Period, did: (i) deceive the investing public, including Plaintiffs and

other Class members, as alleged herein; (ii) artificially inflate and maintain the market price of

Wynn Resorts securities; and (iii) cause Plaintiffs and other members of the Class to purchase or

otherwise acquire Wynn Resorts securities and options at artificially inflated prices.         In

furtherance of this unlawful scheme, plan and course of conduct, Defendants, and each of them,

took the actions set forth herein.

       70.      Pursuant to the above plan, scheme, conspiracy and course of conduct, each of

the Defendants participated directly or indirectly in the preparation and/or issuance of the

quarterly and annual reports, SEC filings, press releases and other statements and documents

described above, including statements made to securities analysts and the media that were

designed to influence the market for Wynn Resorts securities. Such reports, filings, releases and

statements were materially false and misleading in that they failed to disclose material adverse

information and misrepresented the truth about Wynn Resorts’ finances and business prospects.

       71.        By virtue of their positions at Wynn Resorts , Defendants had actual knowledge

of the materially false and misleading statements and material omissions alleged herein and

intended thereby to deceive Plaintiffs and the other members of the Class, or, in the alternative,



                                               18
     Case 2:18-cv-00479-GMN-CWH Document 1 Filed 02/20/18 Page 19 of 23



Defendants acted with reckless disregard for the truth in that they failed or refused to ascertain

and disclose such facts as would reveal the materially false and misleading nature of the

statements made, although such facts were readily available to Defendants. Said acts and

omissions of Defendants were committed willfully or with reckless disregard for the truth. In

addition, each Defendant knew or recklessly disregarded that material facts were being

misrepresented or omitted as described above.

       72.      Information showing that Defendants acted knowingly or with reckless disregard

for the truth is peculiarly within Defendants’ knowledge and control. As the senior managers

and/or directors of Wynn Resorts, the Individual Defendants had knowledge of the details of

Wynn Resorts’ internal affairs.

       73.      The Individual Defendants are liable both directly and indirectly for the wrongs

complained of herein.     Because of their positions of control and authority, the Individual

Defendants were able to and did, directly or indirectly, control the content of the statements of

Wynn Resorts.     As officers and/or directors of a publicly-held company, the Individual

Defendants had a duty to disseminate timely, accurate, and truthful information with respect to

Wynn Resorts’ businesses, operations, future financial condition and future prospects. As a

result of the dissemination of the aforementioned false and misleading reports, releases and

public statements, the market price of Wynn Resorts securities was artificially inflated

throughout the Class Period. In ignorance of the adverse facts concerning Wynn Resorts’

business and financial condition which were concealed by Defendants, Plaintiffs and the other

members of the Class purchased or otherwise acquired Wynn Resorts securities at artificially

inflated prices and relied upon the price of the securities, the integrity of the market for the

securities and/or upon statements disseminated by Defendants, and were damaged thereby.



                                                19
     Case 2:18-cv-00479-GMN-CWH Document 1 Filed 02/20/18 Page 20 of 23



          74.   During the Class Period, Wynn Resorts securities were traded on an active and

efficient market. Plaintiffs and the other members of the Class, relying on the materially false

and misleading statements described herein, which the Defendants made, issued or caused to be

disseminated, or relying upon the integrity of the market, purchased or otherwise acquired shares

of Wynn Resorts securities at prices artificially inflated by Defendants’ wrongful conduct. Had

Plaintiffs and the other members of the Class known the truth, they would not have purchased or

otherwise acquired said securities, or would not have purchased or otherwise acquired them at

the inflated prices that were paid. At the time of the purchases and/or acquisitions by Plaintiffs

and the Class, the true value of Wynn Resorts securities was substantially lower than the prices

paid by Plaintiffs and the other members of the Class. The market price of Wynn Resorts

securities declined sharply upon public disclosure of the facts alleged herein to the injury of

Plaintiffs and Class members.

          75.   By reason of the conduct alleged herein, Defendants knowingly or recklessly,

directly or indirectly, have violated Section 10(b) of the Exchange Act and Rule 10b-5

promulgated thereunder.

          76.   As a direct and proximate result of Defendants’ wrongful conduct, Plaintiffs and

the other members of the Class suffered damages in connection with their respective purchases,

acquisitions and sales of the Company’s securities during the Class Period, upon the disclosure

that the Company had been disseminating misrepresented financial statements to the investing

public.

                                            COUNT II
    (Violations of Section 20(a) of the Exchange Act Against The Individual Defendants)

          77.   Plaintiffs repeat and reallege each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

                                                 20
     Case 2:18-cv-00479-GMN-CWH Document 1 Filed 02/20/18 Page 21 of 23



       78.      During the Class Period, the Individual Defendants participated in the operation

and management of Wynn Resorts, and conducted and participated, directly and indirectly, in the

conduct of Wynn Resorts’ business affairs. Because of their senior positions, they knew the

adverse non-public information about Wynn Resorts’ misstatement of income and expenses and

false financial statements.

       79.      As officers and/or directors of a publicly owned company, the Individual

Defendants had a duty to disseminate accurate and truthful information with respect to Wynn

Resorts’ financial condition and results of operations, and to correct promptly any public

statements issued by Wynn Resorts which had become materially false or misleading.

       80.      Because of their positions of control and authority as senior officers, the

Individual Defendants were able to, and did, control the contents of the various reports, press

releases and public filings which Wynn Resorts disseminated in the marketplace during the Class

Period concerning Wynn Resorts’ results of operations.        Throughout the Class Period, the

Individual Defendants exercised their power and authority to cause Wynn Resorts to engage in

the wrongful acts complained of herein. The Individual Defendants therefore, were “controlling

persons” of Wynn Resorts within the meaning of Section 20(a) of the Exchange Act. In this

capacity, they participated in the unlawful conduct alleged which artificially inflated the market

price of Wynn Resorts securities.

       81.      Each of the Individual Defendants, therefore, acted as a controlling person of

Wynn Resorts. By reason of their senior management positions and/or being directors of Wynn

Resorts, each of the Individual Defendants had the power to direct the actions of, and exercised

the same to cause, Wynn Resorts to engage in the unlawful acts and conduct complained of

herein. Each of the Individual Defendants exercised control over the general operations of Wynn



                                               21
     Case 2:18-cv-00479-GMN-CWH Document 1 Filed 02/20/18 Page 22 of 23



Resorts and possessed the power to control the specific activities which comprise the primary

violations about which Plaintiffs and the other members of the Class complain.

       82.         By reason of the above conduct, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act for the violations committed by Wynn Resorts.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs demand judgment against Defendants as follows:

       A.      Determining that the instant action may be maintained as a class action under

Rule 23 of the Federal Rules of Civil Procedure, and certifying Plaintiffs as the Class

representatives;

       B.      Requiring Defendants to pay damages sustained by Plaintiffs and the Class by

reason of the acts and transactions alleged herein;

       C.      Awarding Plaintiffs and the other members of the Class prejudgment and post-

judgment interest, as well as their reasonable attorneys’ fees, expert fees and other costs; and

       D.      Awarding such other and further relief as this Court may deem just and proper.

                                 DEMAND FOR TRIAL BY JURY

       Plaintiffs hereby demand a trial by jury.

Dated: February 20, 2018
                                                        Respectfully submitted,

                                                        POMERANTZ LLP

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                                                   22
Case 2:18-cv-00479-GMN-CWH Document 1 Filed 02/20/18 Page 23 of 23



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                                23
